 


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK
 

    NATIONAL RIFLE ASSOCIATION OF                      §
    AMERICA,                                           §
                                                       §
                  Plaintiff,                           §
                                                       §     CIVIL CASE NO. 18-CV-00566-LEK-
    v.                                                 §     CFH
                                                       §
    ANDREW CUOMO, both individually and                §
    in his official capacity; MARIA T. VULLO,          §
    both individually and in her official              §
    capacity; and THE NEW YORK STATE                   §
    DEPARTMENT OF FINANCIAL                            §
    SERVICES,                                          §
                                                       §
                  Defendants.                          §

                          CORPORATE DISCLOSURE STATEMENT


         Pursuant to Fed. R. Civ. P. 7.1, Plaintiff states as follows:

         Plaintiff National Rifle Association of America (“NRA”) is a New York not-for-profit

corporation. It has no parent corporation. The NRA issues no stock, and therefore no publicly

held corporation owns 10% or more of its stock.

Dated: May 11, 2018

                                        Respectfully submitted,


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